Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 1 of 9 PageID 88




                 EXHIBIT G
Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 2 of 9 PageID 89
Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 3 of 9 PageID 90
Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 4 of 9 PageID 91
Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 5 of 9 PageID 92
Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 6 of 9 PageID 93
         Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 7 of 9 PageID 94

                                                                                             Jackie Webb <jackie@integritypaymentsgroup.com>



Slack
4 messages

Chris Bornheimer <ChrisB@bankoforrick.com>                                                                        Fri, Apr 7, 2023 at 9:49 AM
To: Andrew Hansen <andrew@bankoforrick.com>, Jackie Webb <jackie@integritypaymentsgroup.com>, Sallie Dwyer <jessi@boostservicing.com>


 Can’t create a slack group with outside email addresses unless we purchase a different license. We’ll see if that makes sense or we want to use
 another program.




 Chris Bornheimer
 CEO/President




 113 East South Front St.

 PO Box 199

 Orrick, MO 64077

 816-770-3311

 816-550-5513 (mobile)

 816-770-2664 (Fax)

 chrisb@bankoforrick.com




 This email communication, including attachments, is covered by the
 CONFIDENTIALITY NOTICE: Electronics Communications Privacy Act, 18 U.S.C.
 2510-2521. This communication is confidential, and may be legally privileged. If
 you are not the intended recipient or believe that you have received this
 communication in error, please reply to this sender indicating that fact and delete
 the copy you have received. In addition, retention, dissemination, distribution,
         Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 8 of 9 PageID 95
 copying, or otherwise use of the information contained in this communication is
 strictly prohibited. Thank You.


jessi@boostservicing.com <jessi@boostservicing.com>                                                              Fri, Apr 7, 2023 at 9:55 AM
To: Chris Bornheimer <ChrisB@bankoforrick.com>, Andrew Hansen <andrew@bankoforrick.com>, Jackie Webb <jackie@integritypaymentsgroup.com>


 What about Slack the free version- us girls are on that already   😊

 From: Chris Bornheimer <ChrisB@bankoforrick.com>
 Sent: Friday, April 7, 2023 10:49 AM
 To: Andrew Hansen <andrew@bankoforrick.com>; Jackie Webb <jackie@integritypaymentsgroup.com>; Sallie Dwyer <jessi@boostservicing.com>
 Subject: Slack



 Can’t create a slack group with outside email addresses unless we purchase a different license. We’ll see if that makes sense or we want to use
 another program.




 Chris Bornheimer
 CEO/President




 113 East South Front St.

 PO Box 199

 Orrick, MO 64077

 816-770-3311

 816-550-5513 (mobile)

 816-770-2664 (Fax)

 chrisb@bankoforrick.com
           Case 8:23-cv-01856-TPB-NHA Document 1-11 Filed 08/17/23 Page 9 of 9 PageID 96


 This email communication, including attachments, is covered by the
 CONFIDENTIALITY NOTICE: Electronics Communications Privacy Act, 18
 U.S.C. 2510-2521. This communication is confidential, and may be legally
 privileged. If you are not the intended recipient or believe that you have received
 this communication in error, please reply to this sender indicating that fact and
 delete the copy you have received. In addition, retention, dissemination,
 distribution, copying, or otherwise use of the information contained in this
 communication is strictly prohibited. Thank You.




jessi@boostservicing.com <jessi@boostservicing.com>                                                    Fri, Apr 7, 2023 at 10:12 AM
To: Chris Bornheimer <ChrisB@bankoforrick.com>, Andrew Hansen <andrew@bankoforrick.com>, Jackie Webb
<jackie@integritypaymentsgroup.com>


 Omg I mean Skype       😊
 [Quoted text hidden]



Jackie Webb <jackie@integritypaymentsgroup.com>                                                        Thu, May 4, 2023 at 9:31 PM
To: Debra LeJeune <debra@integritypaymentsgroup.com>

 ?
 [Quoted text hidden]
